918 F.2d 174Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Benjamin C. HORNE, Defendant-Appellant.
    No. 90-6053.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 29, 1990.Decided Nov. 14, 1990.
    
      Appeal from the United States District Court for the Northern District of West Virginia, at Elkins.  Robert R. Merhige, Jr., Senior District Judge.  (CR-88-93)
      Benjamin C. Horne, appellant pro se.
      William Anthony Kolibash, United States Attorney, Elkins, W.Va., for appellee.
      N.D.W.Va.
      AFFIRMED.
      Before WIDENER, PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Benjamin C. Horne appeals from the district court's order denying his motion for a reduction of sentence under Fed.R.Crim.P. 35(b).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Horne, CR-88-93 (N.D.W.Va. Feb. 26, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    